                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
         Plaintiff,                                )
                                                   )
   v.                                              ) Criminal Action No.
                                                   ) 06-00103-07-CR-W-ODS
ROY L. McMAHAN, JR.,                               )
                                                   )
         Defendant.                                )

                              REPORT AND RECOMMENDATION

        On March 21, 2006, Defendant made an oral motion for a judicial determination of mental

competency. Defendant was examined by Robert Johnson, Ph.D., a clinical psychologist, who

prepared a report dated May 18, 2006.

        On June 1, 2006, I held a competency hearing. Defendant was present, represented by Lisa

Nouri. The government was represented by Assistant United States Attorney Kate Mahoney. The

parties stipulated to the contents and findings of Dr. Johnson (Tr. at 2-3) and waived the ten-day

objection period to this report and recommendation (Tr. at 4).

        Based upon the uncontroverted evidence stipulated to by the parties in this case, I find that

Defendant is competent to stand trial and to assist in his defense. Therefore, it is

        RECOMMENDED that the court, after making an independent review of the record and

applicable law, enter an order finding defendant competent to stand trial and to assist in his defense.




                                                        /s/ Robert E. Larsen
                                                       ROBERT E. LARSEN
                                                       United States Magistrate Judge
Kansas City, Missouri
June 6, 2006



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